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                 IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF NEBRASKA


UNITED STATES OF AMERICA,                 )          4:07CR3152-2
                                          )
                   Plaintiff,             )          MEMORANDUM
      vs.                                 )          AND ORDER
                                          )
JOHN R. KROTZ,                            )
                                          )
                   Defendant.             )


       This matter is before the court on a report and recommendation by Magistrate
Judge Piester (filing 35), recommending denial of Defendant’s motion to suppress
(filing 21). No statement of objections to the report and recommendation has been
filed pursuant to NECrimR 57.3 and 28 U.S.C. § 636(b)(1).

      I have conducted a de novo review of the record. I find that inasmuch as the
Magistrate Judge has fully, carefully, and correctly found the facts and applied the
law, the report and recommendation should be adopted and Defendant’s motion
to suppress should be denied.

       When making the report and recommendation, Judge Piester also ordered that
to the extent Defendant’s motion seeks a ruling on the relevance and admissibility of
evidence under the Federal Rules of Evidence, the motion would be treated as a
motion in limine and no recommendation would be made concerning its disposition.
Judge Piester also directed the clerk to docket filing 21 as both a motion to suppress
and a motion in limine. The undersigned will take up the motion in limine at the
conference which will be held in chambers immediately prior to trial, which currently
is scheduled to commence on February 25, 2008.

      Accordingly,
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    IT IS ORDERED that:

    1.    the Magistrate Judge’s report and recommendation (filing 35) is
          adopted;

    2.    Defendant’s motion to suppress (filing 21, part 1) is denied; and

    3.    Defendant’s motion in limine (filing 21, part 2) will be held in abeyance
          and not decided until the conference which will be held immediately
          prior to trial.


    February 15, 2008.                      BY THE COURT:

                                            s/ Richard G. Kopf
                                            United States District Judge




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